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                            NORTHERN DISTRICT OF CALIFORNIA
19
                                       OAKLAND DIVISION
20
   In re APPLE INC. SECURITIES                    ) Case No. 4:19-cv-02033-YGR
21 LITIGATION                                     )
                                                  ) CLASS ACTION
22                                                )
   This Document Relates To:                      ) ATTESTATION IN SUPPORT OF LEAD
23                                                ) PLAINTIFF’S RESPONSE TO SEPARATE
          ALL ACTIONS.                            ) STATEMENT OF UNDISPUTED FACTS IN
24                                                ) SUPPORT OF DEFENDANTS’ MOTION
                                                    FOR SUMMARY JUDGMENT AND
25                                                  ADDITIONAL MATERIAL FACTS

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 1            I attest that the evidence cited Lead Plaintiff’s Response to Separate Statement of Undisputed

 2 Facts in Support of Defendants’ Motion for Summary Judgment and Additional Material Facts (ECF

 3 323-3) fairly and accurately supports or disputes the facts as asserted.

 4 DATED: October 21, 2022                          ROBBINS GELLER RUDMAN
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     AND ADDITIONAL MATERIAL FACTS - 4:19-cv-02033-YGR                                                   -1-
     4856-2609-1835.v1
      Case 4:19-cv-02033-YGR Document 324 Filed 10/21/22 Page 3 of 6




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28 ATTESTATION IN SUPPORT OF LEAD PLFF’S RESPONSE TO SEPARATE STATEMENT OF
     UNDISPUTED FACTS IN SUPPORT OF DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
     AND ADDITIONAL MATERIAL FACTS - 4:19-cv-02033-YGR                                    -2-
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 1                                      CERTIFICATE OF SERVICE

 2            I hereby certify under penalty of perjury that on [Insert Date] , I authorized the electronic

 3 filing of the foregoing with the Clerk of the Court using the CM/ECF system which will send

 4 notification of such filing to the email addresses on the attached Electronic Mail Notice List, and I

 5 hereby certify that I caused the mailing of the foregoing via the United States Postal Service to the

 6 non-CM/ECF participants indicated on the attached Manual Notice List.

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